                          Case 2:06-cv-00265-LRS       Document 34        Filed 04/01/08

AO 450 (Rev. 5/85) Judgment in a Civil Case



            UNITED STATES DISTRICT COURT
                                    Eastern District of Washington
 LAURA JACQUELINE LISTON,
                 Plaintiff,
                                                                   JUDGMENT IN A CIVIL CASE
                                       v.
 MICHAEL CHERTOFF, Secretary of the U.S. Department
 of Homeland Security,                              CASE NUMBER: CV-06-0265-LRS
                       Defendant.


     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

 ✘   Decision by Court. This action came to hearing before the Court. The issues have been
     heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Defendant pursuant to the
Order Granting United States' Motion for Summary Judgment and Denying Plaintiff's Motion for
Summary Judgment entered on April 1, 2008, Ct. Rec. 33.




April 1, 2008                                              JAMES R. LARSEN
Date                                                       Clerk
                                                           s/ Cora Vargas
                                                           (By) Deputy Clerk
                                                           Cora Vargas
